                         Case 3:23-cv-03417-VC Document 190-8 Filed 10/01/24 Page 1 of 2



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                   18

                   19                             UNITED STATES DISTRICT COURT

                   20                          NORTHERN DISTRICT OF CALIFORNIA

                   21                                  SAN FRANCISCO DIVISION

                   22   RICHARD KADREY, et al.,                       Case No. 3:23-cv-03417-VC-TSH

                   23     Individual and Representative Plaintiffs,   DECLARATION OF ELIZABETH
                                                                      STAMESHKIN
                   24        v.

                   25   META PLATFORMS, INC., a Delaware              Trial Date: None
                        corporation;                                  Date Action Filed: July 7, 2023
                   26
                                                       Defendant.
                   27

                   28
COOLEY LLP
ATTORNEYS AT LAW
                                                                             DECLARATION OF ELIZABETH STAMESHKIN
                                                                                            3:23-CV-03417-VC-TSH
                          Case 3:23-cv-03417-VC Document 190-8 Filed 10/01/24 Page 2 of 2



                    1          I, Elizabeth Stameshkin, declare:
                    2          1.      I am a Special Counsel at the law firm of Cooley LLP and counsel to Meta Platforms,
                    3   Inc. in the above-referenced matter. I have personal knowledge of the facts contained in this
                    4   Declaration and, if called as a witness, could competently testify to them under oath.
                    5          2.      I understand that the process of collecting and reviewing documents for
                    6   responsiveness and privilege was and is time consuming. The process requires Meta to first collect
                    7   custodial files and process them for delivery to an e-discovery vendor. This initial processing is
                    8   bandwidth constrained by the quantity of materials collected and the volume of Meta’s overall e-
                    9   discovery needs, which are substantial. Accordingly, this first step alone can take up to one week
                   10   or longer for a single ESI custodian, even if prioritized at the expense of other tasks by the vendor.
                   11          3.      Once that happens, Meta’s attorneys must apply search terms to the custodial files
                   12   followed by a substantive review for responsiveness, and a second level review for privilege. Once
                   13   all of that is completed, in most cases, at least an additional 48 hours are required to perform a
                   14   quality control check and process any responsive, non-privileged documents for production; and at
                   15   least an additional seven to ten days is necessary to complete a privilege log, depending on the
                   16   volume of privileged materials redacted or withheld.
                   17          4.      It previously took Meta more than eight weeks to collect, review, and produce
                   18   documents for the 10 custodians it identified, and this did not include privilege logging.
                   19          I declare under penalty of perjury that the foregoing is true and correct. Executed on this
                   20   30th day of September at Palo Alto, CA.
                   21

                   22                                                         ____Elizabeth L. Stameshkin___
                                                                              Elizabeth Stameshkin
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COOLEY LLP
ATTORNEYS AT LAW
                                                                                      DECLARATION OF ELIZABETH STAMESHKIN
                                                                          1                          3:23-CV-03417-VC-TSH
